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                                  UNITED STATES DISTRICT COURT
                                                             for the
                                                       District of Massachusetts

                                                       Eastern Division


     MICHAEL BUSH; LINDA TAYLOR; LISA                                  Case No.        1:21-cv-11794-ADB
  TIERNAN; KATE HENDERSON; ROBERT EGRI;
                                                                )
     KATALIN EGRI; ANITA OPTIZ; MONICA
                                                                )
     GRANFIELD, ANN LINSEY HURLEY; IAN
                                                                )
    SAMPSON; SUSAN PROVENZANO; JOSEPH
                                                                )
               PROVENZANO,
                                                                )
                Pro Se Plaintiffs
                                                                )
                                                                )
                            VS.
                                                                )
                                                                )
 LINDA FANTASIA; MARTHA FEENEY-PATTEN;
                                                                )
      ANTHONY MARIANO; CATHERINE
                                                                )
 GALLIGAN; JEAN JASAITIS BARRY; PATRICK
                                                                )
    COLLINS; DAVID ERICKSON; TIMOTHY
                                                                )
  GODDARD; TOWN OF CARLISLE; JOHN DOE;
                                                                )
                JANE DOE
                                                                )
                Defendants




              LETTER ADDRESSING MOOTNESS DOCTRINE

        The undersigned Pro Se Plaintiffs were unaware that motions to strike are generally disfavored.

We thank this Court for its citation of pertinent case law when it denied our emergency motion to strike

on March 14th, 2022.

        Accordingly, the Defendants counsel s ex parte letter filed March 11th, 2022 informing this

Court that some of the Defendants lifted one of the two face mask mandates at the heart of this case

remains on the docket. We have since researched and reviewed the mootness doctrine, exceptions to that

doctrine pertinent to this case, relevant facts in this case, and applicable case law. We present those facts

and our arguments herein for the court s information and consideration.




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        First, the Defendants counsel s letter informed the Court only that the Board of Health member

Defendants had lifted their face mask mandate. The other face mask mandate in this case (issued by other

Defendants and addressed in both our complaint and our opposition to the Defendants motion to dismiss)

has not been rescinded. Thus, this case cannot be deemed moot. And if that separate mandate were

rescinded subsequent to our serving and filing this letter, it would be a conspicuous instance of voluntary

cessation to evade judicial review.

        Regardless of whether the Defendants have issued face mask mandates that are in effect at the

time of this lawsuit s judgment, this Court may grant some or all of the declaratory, injunctive, and

monetary relief we seek in our complaint. A case becomes moot only when it is impossible for a court to

grant any effectual relief whatever to the prevailing party. Knox v. Serv. Emps. Int'l Union, Local 1000,

567 U.S. 298, 307 (2012) (quoting City of Erie, 529 U.S. at 287) (internal quotation marks omitted). See

also, e.g., Mission Prod. Holdings, Inc. v. Tempnology, LLC, 139 S. Ct. 1652, 1660 (2019) (same);

Campbell-Ewald, 577 U.S. at 161 (same); Decker, 568 U.S. at 609 (same); Chafin, 568 U.S. at 172

(same). Additionally, since there is the chance the damages we seek in this case may be awarded, it is

important to note that the U.S. Supreme Court has held that, [i]f there is any chance of money changing

hands as a result of the lawsuit, then the suit remains live. Mission Prod. Holdings, 139 S. Ct. at 1660.

        As long as the court retains the ability to fashion some form of meaningful relief, then that is

sufficient to prevent th[e] case from being moot. Church of Scientology, 506 U.S. at 12 13. See also,

e.g., Chafin, 568 U.S. at 177 ( [E]ven the availability of a partial remedy is sufficient to prevent a case

from being moot. ) (quoting Calderon, 518 U.S. at 150) (brackets and internal quotation marks omitted).

        The Defendants counsel effectively informed this Court in his letter that the Board of Health

member Defendants had voluntarily ceased their conduct challenged as unlawful in this case. But the U.S.

Supreme Court has held that a party's voluntary cessation of a practice will usually not moot its

opponent's challenge to that practice. Buckhannon Bd. & Care Home, Inc. v. W. Va. Dep't of Health &

Human Res., 532 U.S. 598, 609 (2001); City of Erie v. Pap's A.M., 529 U.S. 277, 287 89 (2000); Friends

of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 189 (2000); Ne. Fla. Chapter of


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Associated Gen. Contractors of Am. v. City of Jacksonville, Fla., 508 U.S. 656, 662 (1993); Chi.

Teachers Union, Local No. 1, AFT, AFL-CIO v. Hudson, 475 U.S. 292, 305 n.14 (1986); United States v.

Generix Drug Corp., 460 U.S. 453, 456 n.6 (1983); City of Mesquite v. Aladdin's Castle, Inc., 455 U.S.

283, 289 (1982); Cty. of Los Angeles v. Davis, 440 U.S. 625, 631 (1979); Allee v. Medrano, 416 U.S.

802, 810 (1974). This voluntary cessation exception to the mootness doctrine exists because if a litigant

could defeat a lawsuit simply by temporarily ceasing its unlawful activities, there would be nothing to

stop that litigant from engaging in that unlawful behavior again after the court dismissed the case     the

litigant would effectively be free to return to [its] old ways. Allee, 416 U.S. at 811 (quoting Gray v.

Sanders, 372 U.S. 368, 376 (1963)). See also, e.g., Friends of the Earth, 528 U.S. at 189 (same).

        By merely lifting one of their challenged mandates, the Defendants in this case have not assured

us or this Court that their challenged conduct will not recur. As the U.S. Supreme Court has held, The

'heavy burden of persua[ding]' the court that the challenged conduct cannot reasonably be expected to

start up again lies with the party asserting mootness. (explaining that a party's burden to avoid the

voluntary cessation doctrine is formidable ). Friends of the Earth, 528 U.S. at 189 (quoting Concentrated

Phosphate Export Ass'n, 393 U.S. at 203). See also, e.g., Trinity Lutheran Church, 137 S. Ct. at 2019 n.1;

Adarand Constructors, 528 U.S. at 222. See also Already, LLC v. Nike, Inc., 568 U.S. 85, 91 (2013).

        Though of arguably limited applicability to our case as it involved a different type of mandate

issued by a different category of government official (state rather than municipal), the United States Court

of Appeals For the First Circuit s August 26th, 2021 ruling upholding a District Court s dismissal of the

Boston Bit Labs, Inc. v. Charles D. Baker case ( Bit Labs ruling ) as moot warrants some discussion

here. As that Appeals Court cited in its ruling,   [E]ven if the government withdraws or modifies a

COVID restriction in the course of litigation, our judicial superiors tell us, that does not necessarily

moot the case. See Tandon v. Newsom, 141 S. Ct. 1294, 1297 (2021) (per curiam).

        Importantly, as the Appeals Court noted in its Bit Labs ruling, the Plaintiff in that case did not

seek money damages . In contrast, we do seek money damages in this case, which precludes our case

being ruled moot.


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        As the Appeals Court also noted in its Bit Labs ruling, Governor Charles D. Baker terminated his

COVID-19 emergency declaration and all related orders before the ruling in August 2021. With a letter to

the Appeals Court, Baker assured the court that his order challenged by the Plaintiff would not recur. The

Appeals Court deemed the Defendant s assurance of non-recurrence of his challenged conduct critical .

In contrast, the Board of Health Defendants in our case only requested the town Select Board issue a

declaration of emergency due to COVID-19 in August 2021 after Governor Baker terminated his

declaration of such emergency. Thus, the arbitrary and capricious nature of the Board of Health

Defendants challenged conduct in our case becomes all the more obvious, on top of the relevant facts we

noted in our opposition to their motion to dismiss.

        Our email messages as well as notice and demand letters delivered by Certified Mail over the past

year failed to persuade the heedless Defendants to rescind their unlawful mandates. Yet apparently a short

statement by a single member of the public at the February 23rd, 2022 Board of Health meeting about how

she [felt] like it is appropriate at this time for Carlisle's mask mandate to be lifted persuaded the Board

of Health Defendants to lift their particular mandate we challenge. Also at the meeting, the Defendants

acknowledged that COVID-19 was still present in town, infecting and sickening people. Yet they voted to

lift their challenged mandate nonetheless. Those and more details are in the official minutes from that

Board of Health meeting enclosed as Exhibit 1.

        In its Bit Labs ruling in August 2021, the Appeals Court also seemed to be under the impression

that the COVID vaccines/shots were or would bring COVID-19 under control. It was only around that

time that it was starting to become evident that the shots could not achieve that objective.1 Since then,

large studies domestically and abroad 2 and 3 as well as the Massachusetts Department of Public Health s


1
  https://www.cnbc.com/2021/07/30/cdc-study-shows-74percent-of-people-infected-in-massachusetts-covid-
outbreak-were-fully-vaccinated.html last visited March 20, 2022.
2
  Shedding of Infectious SARS-CoV-2 Despite Vaccination. Kasen K. Riemersma, Brittany E. Grogan, Amanda
Kita-Yarbro, Peter J. Halfmann, Hannah E. Segaloff, Anna Kocharian, Kelsey R. Florek, Ryan Westergaard, Allen
Bateman, Gunnar E. Jeppson, Yoshihiro Kawaoka, David H. O Connor, Thomas C. Friedrich, Katarina M. Grande
medRxiv 2021.07.31.21261387; doi: https://doi.org/10.1101/2021.07.31.21261387, last visited March 29, 2022.
3
  Subramanian, S.V., Kumar, A. Increases in COVID-19 are unrelated to levels of vaccination across 68
countries and 2947 counties in the United States. Eur J Epidemiol 36, 1237 1240 (2021).
https://doi.org/10.1007/s10654-021-00808-7 last visited March 29, 2022.


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own published data have shown with alarming clarity that the shots fail to prevent illness, hospitalization

(see Exhibits 2 and 3 enclosed), and death from COVID-19, much less prevent infection or transmission

of its associated virus SARS-CoV-2 (see Exhibit 4 enclosed). Thus, it is much more evident now that

those tyrannically-inclined in government may reissue challenged COVID/medical mandates in the future

than it was back in August 2021 when the Appeals Court issued its Bit Labs ruling. This is not merely

according to us Plaintiffs, for unlike Governor Baker who assured the Appeals Court his challenged

conduct would not recur, when lifting their face mask mandate on February 23rd, 2022 the Board of

Health Defendants in this case publicly stated that their conduct we challenge may very well recur and

they reserve the right to engage in it. In her notes on this very issue on the last page of Exhibit 1,

Defendant Jean Barry states that a mask mandate should be a temporary measure            We need to be able

to pivot quickly and reverse course when the time is right. Barry went on to state that a future variant of

the virus could be dangerous.

        In its Bit Labs ruling, the Appeals Court also noted that Bit Labs did not raise the capable of

repetition yet evading review exception to the mootness doctrine. Thus, the Appeals Court did not

consider that issue. We, however, do assert that the Defendants two distinct face mask mandates (only

one of which has been lifted ) are both capable of repetition yet evading review. The Defendants have

demonstrated with their own conduct evidenced in our complaint and their conduct described by their

own legal counsel s ex parte letter to this Court that they may issue such mandates we challenge and lift

or rescind them in the blink of an eye, for any reason or criteria. The Supreme Court has generally

declined to deem cases moot that present issues or disputes that are capable of repetition, yet evading

review. 1 ; FEC v. Wis. Right to Life, Inc., 551 U.S. 449, 462 (2007); Norman v. Reed, 502 U.S. 279,

287 88 (1992); Int'l Org. of Masters, Mates & Pilots v. Brown, 498 U.S. 466, 473 (1991); Meyer v.

Grant, 486 U.S. 414, 417 n.2 (1988); Honig v. Doe, 484 U.S. 305, 317 23 (1988); Burlington N. R.R. Co.

v. Bhd. of Maint. of Way Emps., 481 U.S. 429, 436 n.4 (1987); Brock v. Roadway Express, Inc., 481

U.S. 252, 257 58 (1987); Cal. Coastal Comm'n v. Granite Rock Co., 480 U.S. 572, 577 78 (1987); Press-

Enter. Co. v. Super. Ct. of Cal. for Cty. of Riverside, 478 U.S. 1, 6 (1986); Globe Newspaper Co. v.


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Super. Ct. for Cty. of Norfolk, 457 U.S. 596, 603 (1982); Democratic Party of U.S. v. Wisconsin ex rel.

La Follette, 450 U.S. 107, 115 n.13 (1981); Gannett Co. v. DePasquale, 443 U.S. 368, 377 (1979); Bell v.

Wolfish, 441 U.S. 520, 526 n.5 (1979); First Nat'l Bank of Bos. v. Bellotti, 435 U.S. 765, 774 (1978);

United States v. N.Y. Tel. Co., 434 U.S. 159, 165 n.6 (1977); Neb. Press Ass'n v. Stuart, 427 U.S. 539,

546 47 (1976); Gerstein v. Pugh, 420 U.S. 103, 110 n.11 (1975); Super Tire Eng'g Co. v. McCorkle, 416

U.S. 115, 125 27 (1974); Storer v. Brown, 415 U.S. 724, 737 n.8 (1974); Dunn v. Blumstein, 405 U.S.

330, 333 n.2 (1972); S. Pac. Terminal Co. v. ICC, 219 U.S. 498, 514 16 (1911). According to the U.S.

Supreme Court, if this exception to mootness did not exist, then certain types of time-sensitive

controversies would become effectively unreviewable by the courts. See, e.g., Sosna v. Iowa, 419 U.S.

393, 400 (1975).

                                        SUMMARY AND CONCLUSION

        Only one of the two face mask mandates our lawsuit challenges has been lifted or rescinded.

Thus, our lawsuit cannot be deemed moot.

        Even if both face mask mandates were lifted or rescinded, the U.S. Supreme Court and the

Appeals Court for the First Circuit have made repeatedly clear that voluntary cessation of challenged

conduct (whether COVID-related or otherwise) does not render a lawsuit moot.

        Even if the Defendants voluntarily ceased both of their challenged mandates, our case could not

be moot, as the Defendants themselves have made clear that their challenged mandates are capable of

repetition while evading judicial review.

        Even if the Defendants voluntarily ceased both of their challenged mandates; and somehow

persuaded this Court that they did not really mean it when they insisted in their motion to dismiss that the

Board of Health does have the legal authority to issue face mask mandates; and somehow persuaded this

Court that they did not mean it when they publicly stated at the February 23rd, 2022 meeting that they may

re-issue their challenged mandates at their whim and discretion; our case could not be deemed moot as

there is a chance of money changing hands as a result of our lawsuit and thus according to the U.S.

Supreme Court it remains live.


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        Wherefore, though the Defendants counsel s ex parte letter remains on the docket, the facts and

events it conveyed fall far short of the formidable threshold required to render our lawsuit moot.



        Date: March 30, 2022                                     Respectfully submitted,



                                                                                           , Pro Se
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                                                                 Phone: (978) 734-3323




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                                     CERTIFICATE OF SERVICE
I, Michael Bush, hereby certify that I have, on this 30th day of March, 2022, electronically served a copy
of the foregoing and any accompanying document(s) pursuant to Fed. Rule Civ. Proc. 5(b)(2)(E) and
Local Rule 5.2 upon the following:
                                       John J. Davis, BBO #115890
                                   10 Post Office Square, Suite 1100N
                                            Boston, MA 02109

                                                      ______________________, Pro Se
                                                         Michael Bush




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